       Case 2:06-cr-20045-PKH                 Document 64          Filed 06/02/09           Page 1 of 1 PageID #: 191
qAO ?47 (02/08) OrilErRog8rding
                              Motion for SeniencsRcduotion


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                                                     "ou1h+!f,U
                                                   We$ternDistrictof Arkansas
                                                                                                              JUN02200$
                  UnitedStatesof Americn                                                                     criRrs
                                                                                                                 R.JrHsofi,61Ef,K
                                                                                                   ttY
                                                                     CaseNo: 2:06CR20045-001                       trPUIYfl.BK
                           C. Carter,III
                     Charles
                                                                     USMNo: 06498-010
l)atc oflrreviousJudgment;January22, 2009                            .IamesPieroc
(Usc Date ofl,bst Amcnded Judgncnt ifApplicnblc)                     Dcfcndant's AIL(1mcy


                 Order RegardingMotion for SentcnceReductionPursuant to I8 U.S,C,g 3582(c)(2)

       Upon motionof /the,j"fendant D the Directorof thc Bureauof Prisons D thecourtunderl tl U.S.C.
$ 3582(cX2)for a reductionin theternrof imprisonmentimposedbasedon a guidelinesentencing
                                                                                       rirngethathas
subsequentlybeenloworedandmadcretroactivc     by theLlnitedStatesSentenoing
                                                                         Commission pursuantto 28 lJ.S.C.
$ 99a(u),andhavingconsidered   suchmotion,
fl rS ORDER-EDthat th?motioni$;
       D DENIED. d CRANI'ED andthe det'cndant's
                                              proviouslyimposedsentonceof imprisonment         in
                                                                                       lrflcctcd
                                                                                     1as
                    the lastjudgnentissucd)of             monthsis reducedto      70 months
l. COURT DETERMINATION                  OF GIIIDELINE        RAN(IE (Priorto AnyDephrture$)
PreviousOffenseLevel:                      25                       AmendedOffense[,ovel:                         ?3
CriminalHistoryCategoryl                   lV                       CrinrinalHistoryCategory:                     lV
Prcvious        Range: 84
        Guideline                            to 105     molths      Anrendcd GuidelincRange: 70                        to 87   months
II, SENTf,NCE RELATIVE TO AMENDED GUIDELINE RANGE
ff Thereducedscntenceis wilhin the amendedguidelinerange.
Cl Thc previou$tcfin of imprisonmentimposedwaslessthanthe guidelincrangeapplicableto the defendantat thetinre
    ofsentencingasa resultofa departurc
                                      or Rulo35 reduction,
                                                        andtheroduced  sentcnceis comparably le$sthanthe
    amendedguidclinerange.
]J Otherlcxptain):




III, ADDITIONAL COMMENTS
       Thissentence
                  is to runconcunrntlywith thc sentenoe     on July20,2007,in'l'ulsaCounty,OK, Distriot
                                                      imposed
CourtCase#CF-20064200,as setforlh ifl the AmcndedJudrrment
                                                         datedJanuarv22. 2009.



Exceptasprovidedabove,all provisionsofthojudglent clated
IT TSSO ORDERED.

OrdotDate:        June2, 2009


EffectiveDate:                                                         HqnorableEobertT. Dalvson.IJ.S.DistrictJudge
                   (ifdillerrnt fronrorderriate)                                            Prinlcdnamemd titlc
